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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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CHRISTOPHER HASH,                                                  :

                                      Plaintiff,                   :

                   - against -                                     :             ORDER

THE LONG ISLAND RAILROAD COMPANY,                                  :         20-CV-1389 (SLC)

                                        Defendant.                 :
-----------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         The November 12, 2020 settlement conference will be held via telephone. The parties are

directed to call (888) 557-8511 and, thereafter, enter access code 4862532. The parties are to comply

with the Court’s settlement procedures located on the court’s website, except that the respective

confidential settlement conference writings should be sent via email to:

elizabeth_potter@nysd.uscourts.gov.

Dated: New York, New York                                          SO ORDERED:
       October 19, 2020
